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            EXHIBIT 179
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           Re: CONFIDENTIAL: Re: [EXTERNAL] Medscape article
           with new comments from Dr. Anderson
           •
           From:
           To:      "madeline.deutscl              <madeline.deutsch
           Cc:


           Date:    Wed, 24 Nov 2021 13:31:37 -0500

           All I can say is, finally. I am glad to finally hear some sense of concern about the loosening of
           standards. It should be quite clear that as we have loosened standards and lost some control over the
           opportunistic nature of medicine in the US that we too started hearing increased concern over de-
           transition / regret. I am glad that you have concerns over SOC8. I am also alarmed by the call to
           censure Erica yet again. For what, stating the concerns that Maddie just expressed? The first step in
           solving a problem is admitting you have one. Everyone, we have a problem. Erica and Marci know it
           and so does Maddie thankfully. Science is great but medicine is promulgated by Dr Google and the ill
           informed profiteers taking advantage of troubled youth with little reputable resource. Our organization
           is at a crossroads. As a Board, frank discussions need to be had.

           Sent from my iPhone


             On Nov 23, 2021, at 12:54, Deutsch, Madeline <Madeline.Deutscl                  wrote:




             To share my own thoughts on these subjects, I do agree with. and would go a step
             further to say that I do have concerns about how the door has swung away from more
             rigorous assessments in general over time. The reaction to restricted access and
             barriers has been a wave of treatment-on-demand clinics and proponents. In my view
             the ultimate manifestation of this is this paper, written by a law student, a first year
             medical resident, and a psychologist, in which they basically argue that anything other
             than hormones on demand is not true informed consent and is a violation of body
             autonomy. https://pubmed.ncbi.nlm.nih.gov/34133715/ I find this to be very troubling. Also
             troubling is the out-of-proportion attention paid to the de/re-transition issue because it
             has become a rally point for "both sides". So indeed these issues require attention, but
             in a scientific way.

             Our best action forward as a Board and organization, in my view, is to undertake a
             systematic process to develop prompt position statements that include appropriate
             expertise input beyond what is represented on the Board. I would not expect there to
             be significant action from the WPATH Board on this in the near term. As it stands the
             Assessment chapter for SOC8 has removed all pre-surgical assessment and
             requirements for adults, besides a "suggestion" of 6 months on hormone therapy. In
             addition to being bad medicine in my view, I think this will add great fuel to the fire we
             are dealing with and ultimately weaken WPATH and the strength of the SOCs. I don't




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             know the full story, but I do know that there has been a great deal of pressure placed on
             that chapter and on the editors by a wing of the community who want to have
             everything done on demand or it is otherwise transphobic or denying autonomy. I have,
             in my capacity as Primary Care Chapter Lead, expressed these concerns directly to the
             SOC editors.

             Best,

             Maddie

             From: Deutsch, Madeline <Madeline.Deutschl
             Sent: Tuesday, November 23, 2021 12:38 PM




             Subject: Re: [EXTERNAL] Medscape article with new comments from Dr. Anderson

             Thank you for those who have shared your thoughts. I see 3 issues here.

             One is that Erica has now given another press interview on this topic, in which she re-
             affirmed her statements in the Shrier article, without notifying or consulting with the
             Board, even after her recent letter of reprimand. This requires action by the Board in
             my view. I will asl<      to weigh in, but I would in the least want to consider removing
             her from her Past-President role and moving her to a member-at-large position. I am
             concerned that we have given Erica a reprimand yet she continues to speak to the press,
             and if we take no action then she has no dis-incentive to continue to do so.

             A second is the issue of de/retransitioning, and a third is the issue of insuring quality
             and safety in trans youth care. I sent the below message with regards to those
             matters. I am sure that we all have much to contribute to these discussions. What I
             would like to do with the next Board meeting is after taking care of all a number of
             administrative matters that will be on the agenda, pivot to starting these processes. It
             will be important that we remain focused on and actionable and solutions-based
             approach, that is strategic, addresses the very real medical and psychosocial patient
             care issues at play as well as the charged political atmosphere, and that has a clear and
             timely plan of action. I will encourage Board members to have off-line discussions or e-
             mail exchanges amongst yourselves in advance of this meeting as needed so that we
             can focus on developing actionable steps to appropriately address this issue at the
             meeting.

             Best,

             Maddie




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                              noisy have *Li                                                                 - 3 position statemE
                    t: c             ,?xpected. I would like to create a USPATH task force that will examine this issue by the
                    numbers. We will need to engage impartial ex.; ‘•rt,, in the field who are qualified to do this work and have
                    no history of conflict of interest. For examplit.,      not consider Lisa Littman to be impartial given her
                    recent appearance with Megyn Kelly. Concurrently we should have a separate well qualified and impartial
                    expert task force which will examine qualifications and training ccnsi . rations, as well as quality assurance
                    and improvement, for those who assess transgender youth for inh:dilG:: of hormone therapy or blockers.



             Sent: Tuesday, November 23, 2021 12:09 PM




             Subject: RE: [EXTERNAL] Medscape article with new comments from Dr. Anderson




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               This message came from outside your organization.


                                                   This Message was Encrypted.



             The thing that I struggle with is that de/retransitioners have always been a part of my
             community, and to a lesser degree my medical practice. There's some idea that people either
             essentially are or are not trans that these people are running with, which is so dangerous to
             people who de/retransition, and not the idea that different genders fit people better at
             different times and those things are fluid. I'd really like to focus our response on this on the idea
             that de/retransition doesn't make someone "not trans," but is a normal part of life. I'd like to do
             something to promote the idea that de/retransition isn't "failure" on the part of medical
             providers, but a normal part of having trans people around, and emphasize that we should
             welcome de/retransitioners into our practice, because they do have unique health needs that
             are best addressed by someone familiar with trans medicine.




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             There's so much stigma out there for de/retransitioners — I just had a surgeon cancel a routine
             vaginoplasty repair and request a psych eval because they patient detransitioned.

             So do we want to make some sort of statement? Or start working with WPATH to have this
             addressed at next year's conference?



             Sent: Tuesday, November 23, 2021 12:24 PM

                                                                                                Maddie Deutsch
             <Madeline.Deutsch



             Subject: RE: [EXTERNAL] Medscape article with new comments from Dr. Anderson

             I would like to go on a retreat in the woods, with campfires and marshmallows!



             Sent: Tuesday, November 23, 2021 7:13 AM
             To:
             Cc:                                                                                Maddie Deutsch
             <Madeline.Deutscl



             Subject: Re: [EXTERNAL] Medscape article with new comments from Dr. Anderson (EXTERNAL
             EMAIL)

                         BE CAREFUL. WITH THIS MESSAGE




                                                                    going on "what the children say," as Erica put
             it, and on what we/parents/teachers observe in their behavior...there's no litmus test. And
             there's no assessment tool that captures all the ways internal signals can sometimes be misread
             as related to gender when they're not, or not completely, as can happen with borderline
             personality and other identity-related conditions, and which is occurring more often (in my
             observation) as trans/nonbinary identities are more visible, available, and (yay) accepted. We're
             just beginning to see responsible, trans-led investigations on some of this (see this lit review on
             psychosis in trans folks by Sebastian Barr et al.: https://secure-
             web.cisco.com/1Vy3VDNyPrSa2LmP-
             Lannce6IJH9UR12zTR4GnfVVydMvni7EewunzZ4kHJSL5FirXA yoC2nui98qL9PiTZ AeesIUsRY2
             N9xrH2jqciegZnIgiCA6 8MUIZNNQ HT6q2TYEWrF4mhN pRtGuUw7iRbB PFDyz7ek2F5Jvivgprp
             xthSgPcxxqZT 6tws4gySLblwsudyj2sg2Y64yWeQWJ2VI8geEmMGaz8a7A6WHbeJnanDgrUx6
             HKkg2NtWl5t1IXJbw4rD4priSJ6pXlUxRpQLfKH6gnRH25wigM90iyeMVWfDQ26Vafza-tVZeM-
             CKRHuKDuUmgg8WilkY1v3oP-
             WZBeZhQRnfx2zyWW9UHBaZLysBEtIXQqEYoBRNw9o51gg05sKyHGxYTarbuw7QYFLxTIUcaf
             PPCwxSVZ C-
             e32Igsde4uvdQ0KoCrAHCO3ETEIFBBfVVyl v8vc0mHNol3rpg/https%3W/02F/02Fwww.sciencedir




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             ect.com%2Fscience%2Farticle%2Fpii%2FS0165178121005679°/03FdgciT/03Dauthor) but
             nothing yet to my knowledge that specifically addresses this weird moment we're in with
             kids/pandemic/social media. I've heard shrill voices on both sides, and in my view, this shouldn't
             be a "sides" kind of thing. As in politics, polarization occurs when each "side" doesn't really
             listen to the other. But to present a more nuanced discussion invites weaponization by the
             TERFy ROGD people, and their "side" is more comprehensible to scared parents (and probably
             most of the cis-het masses, to be honest), even when we're talking about a tiny minority of
             people who retransition/regret/think they made a mistake. Right now I'm really wishing we
             could all go on a think-tank retreat somewhere (preferably with a campfire)...this feels so big for
             an email discussion or even a board meeting.




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             original message.




                On Nov 23, 2021, at 8:47 AM,                                                                        wrote:

                Has anyone yet listened to the Genspect conference? It's available on YouTube and I'm
                about halfway through. The first half has been about the same things we've heard over and
                over, "3000% increase in transmasc individuals" (although they are all referred to as
                female), poor understanding of Cecilia Dejehne's work, complaining about lack of data to
                substantiate the need for timely care, etc. I don't know why some people are susceptible to
                the small but loud minority voice and am deeply grieved by community members who are
                as well. Perhaps we should discuss amongst our Board=

                Sent from my iPhone


                    On Nov 23, 2021, at 4:42 AM, ■
                                              wrote:

                                     ESQ. CAREFUL WITH THIS MESSAGE




                   At Endocrine Society, we have had a lot of difficulty with the publications coming from
                   Medscape on this topic (and have had to involve our legal group). William Malone (an
                   endocrinologist from Idaho) heads up one of these fringe societies and frequently is




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                interviewed in their articles, and frequently disrupts sessions on this topic at ES
                meetings.
                Unfortunately speaking to Medscape is about the equivalent to speaking to Shrier in
                my opinion.




                Sent from Workspace ONE Boxer

                On November 22, 2021 at 22:54:57 CST, Deutsch, Madeline
                <Madeline.Deutsch            wrote:
                 A new article with remarks from Dr. Anderson in which she defends
                 her comments to Abigail Shrier. Limiting the discussion to Board
                 members who will be continuing after the election and present at the
                 next meeting.

                 https://secure-
                 web.cisco.com/1LFK4DEu6ree3RWJho8PXxG3L9yEKRP9Y9GjsIlpN2YmBrutHwzu
                 jDbaOJGGgt6JOtwV08tubBc8RhbfzcviW9ZORaBdw-
                 oVtHomItUoaW3WU43HsLGOXgg EgBD01cUt7BINKR KEXj 4JoHLnOR8wUlaF
                 d-
                 bKAN5A92cTRzmnKDYHcO4 ImxhGz2iM5NME8MAI eFM6L8rd5LgKQS9N3ph1dRK
                 VyysA3ID5uAge3DwIG-FTBOyMPoj-9eHO-uw36GMmit ITYI-8fng MCOnp-
                 ft48zOIJ-
                 HLt1sAE F4YERbLLWUruL1RZaMbzuilBUzR9ulUUTAW29VpJRzrLtIgrFmnkyAyvc
                 ONjIliej5Q36KEpo4w9UzFKxJgxey2K73LyTFeSh6o4WgLzJxmCwlod VXT8mJ63Q
                 62KTO8m3WtKjku33hJ2Q BYC8uJmap8KN7rwYIcyA4g0UXotjILXTw/https%3A%2F
                 %2Fwww.medscape.com%2FyiewarticlecY02F963269%3Ffbclid%3DlwAR0vncXauY
                 OI3KS egajmIKfcJh5aFPKvT5rciDs3Wf71kguN5atNA3asVU


                  Transgender Docs Warn About Gender-Affirmative Care for Youth
                  Some of America's leading experts on transgender medicine say their
                  concerns about the quality of the evaluations of adolescents and young
                  adults with gender dysphoria are being stifled by activists who are
                  worried that open discussions will further stigmatize trans youth and add
                  fuel to the conflagration of anti-trans legislation sweeping across the
                  nation.
                  The clinicians who have raised warning flags say the health of young
                  people is their primary concern.
                  Others agree that it is time to take a closer look at the widely backed
                  "gender-affirmative care" model and the quality of care being delivered,
                  but they believe it should be done in the halls of academia, not through
                  the lay press or on social media.
                  The latest skirmish was set off by comments made by Marci Bowers, MD,
                  president-elect of the World Professional Association for Transgender




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                  Health (WPATH), and Erica Anderson, PhD, president of the US
                  Professional Association for Transgender Health (USPATH) and USPATH
                  representative to the WPATH board.
                  The comments come from an interview with Abigail Shrier, author of the
                  book entitled, Irreversible Damage, which has drawn controversy because
                  of its assertion that some adolescents are experiencing what has been
                  dubbed "rapid-onset" gender dysphoria (ROGD). The term was first
                  coined in 2018 by researcher Lisa Littman, MD, MPH, president of The
                  Institute for Comprehensive Gender Dysphoria Research (ICGDR), but is
                  not officially accepted.
                 However, many researchers in the field acknowledge the phenomenon
                 that it describes: a huge increase in the Western world of teenagers and
                 young adults suddenly expressing a transgender identity seemingly out of
                 the blue, when previously there had been no indication that they were
                 uncomfortable with their biological sex. This phenomenon has also
                 variously been termed late- or adolescent-onset gender dysphoria, and
                 differs from prior descriptions of gender dysphoria, which was primarily
                 observed in younger children.
                  "We're Going to Have More Young Adults Who Regret...This Process"
                 Dr Erica Anderson
                 In the Shrier substack article, published on October 4, Bowers and
                 Anderson (both of whom are transgender) lament the state of
                 assessments and care for children and adolescents experiencing gender
                 dysphoria.
                  Anderson, a clinical psychologist, told Shrier, that "due to some of the I'll
                  call it just 'sloppy' healthcare work that we're going to have more young
                  adults who will regret having gone through this process."
                  Now, in an interview with Medscape Medical News, Anderson says she
                  stands by the comments she made to Schrier. "I'm concerned that there
                  are some...providers of mental health [care] and medical providers who
                  are not observing WPATH standards of care and who may be less fully
                  qualified to deliver care."
                  One of the "sloppy" things she says she's witnessed is providers "believing
                  that the gender-affirmative approach is simply taking what the children
                  say and running with it."
                 The "gender affirmative" approach for children with gender dysphoria
                 means different things at different ages. In the case of kids who have not
                 yet entered puberty associated with their birth sex, this might include
                 prescribing so-called "puberty blockers" to delay natural puberty -




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                  gonadotrophin-releasing hormone analogs that are licensed for use in
                  precocious puberty in children. They have not been licensed for use in
                  children with gender dysphoria, so such use in off-label.
                  Following puberty blockade, or in cases where adolescents have already
                  undergone natural puberty, the next step is to begin "cross-sex"
                  hormones. So, for a girl (female) who wants to transition to male (FTM),
                  that would be lifelong testosterone, and for a male who wants to be
                  female (MTF), it involves lifelong estrogen. Again, use of such hormones
                  in transgender individuals is off-label.
                  Many of these individuals also decide to access surgery, although this
                  usually happens when they are legally adults (at age 18 and older). In the
                  case of FTM, surgery involves a double mastectomy, euphemistically
                  called "top surgery", to remove the breasts and give the chest the
                  appearance of a male. Boys wishing to transition to female may get breast
                  implants, although in many cases, estrogen causes enough breast tissue
                  to grow. So-called "bottom surgery" is more complex. For MTF, it involves
                  removal of the testicles and penile inversion to form a "neo-vagina". And
                  for FTM, it may involve a hysterectomy, removal of the ovaries, and a
                  phalloplasty, a complex and multistaged procedure to create a penis.
                  An evaluation for gender dysphoria requires a comprehensive picture of
                  every young person, their journey, and a medical and psychological
                  profile, Anderson stresses.
                  "To simply act as if a child is a reliable reporter about this area but not
                  nearly every other area is preposterous," she explains.
                  Anderson says she's not criticizing all providers or all transgender care.
                  But she's concerned "that in the haste which some, in my opinion, have
                  exercised to provide gender care to youth...some providers are either
                  ignoring what they know about adolescents, or they're setting it aside for
                  the time being in the service of expediting care that's gender-affirming."
                  "It disturbs me a great deal, which is why I'm speaking out, even though
                  I've incurred the ire of some people who think that just by speaking out I
                  am causing problems," says Anderson.
                  Bowers, a gynecologic surgeon, has felt similar pressure. She told Shrier:
                  "There are definitely people who are trying to keep out anyone who
                  doesn't absolutely buy the party line that everything should be affirming
                  and that there's no room for dissent."
                  She also told Shrier she was "not a fan" of administering puberty blockers
                  at Tanner Two stage of puberty.




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                  Puberty blockers inhibit genital tissue growth, which can make affirmation
                  surgeries more difficult for children who do eventually transition and
                  choose to opt for gender-reassignment surgery, said Bowers.
                  She is also worried that puberty blockers, combined with cross-sex
                  hormones afterward, may impact children's "sexual health later and ability
                  to find intimacy."
                  Bowers did not respond to requests from Medscape Medical News for
                  additional comment.
                  Discussions Should Be in Academia, Not on Social Media or in Lay Press
                  Dr Jason Rafferty
                  Some 8 days after the Shrier article was published, USPATH and WPATH
                  issued a joint statement that it stood behind "the appropriate care of
                  transgender and gender diverse youth, which includes, when indicated,
                  the use of 'puberty blockers,'" and "the use of gender-affirming hormones
                  such as estrogen or testosterone."
                  The two organizations also say they "oppose the use of the lay press,
                  either impartial or of any political slant or viewpoint, as a forum for
                  scientific debate of these issues, or the politicization of these issues in any
                  way."
                 Jason Rafferty, MD, MPH, EdM, lead author of the American Academy of
                 Pediatrics (AAP) 2018 policy statement on caring for transgender and
                 gender-diverse children and adolescents, said he agrees that discussions
                 about the gender-affirmative care model should be held mainly among
                 professionals.
                  He also acknowledged that "parents are coming to us with a lot of fear
                  and trepidation about what's ahead."
                  Shrier's article "played on some of those fears — that the future after
                  gender-affirmative care is really scary," says Rafferty, a pediatrician and
                  child psychiatrist at the gender and sexuality clinic and Adolescent
                  Healthcare Center at Hasbro Children's Hospital in Providence, Rhode
                  Island.
                  Nevertheless, he told Medscape Medical News that concerns voiced by
                  Bowers and Anderson are "legitimate."
                  Lone Voices or a Growing Chorus?
                  Anderson says that she and another psychologist, Laura Edwards-Leeper,
                  PhD, are among the few willing to speak out.




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                  "Others have dubbed Dr Edwards-Leeper and I the 'brave ones' because
                  we're willing to talk about these issues," she says.
                  Anderson was, until October, a clinical psychologist at the Child and
                  Adolescent Gender Clinic at the University of California at San Francisco.
                  She told Medscape Medical News that she resigned "to pursue other
                  opportunities."
                  Edwards-Leeper is professor emeritus in the School of Graduate
                  Psychology at Pacific University in Hillsboro, Oregon, and was on the
                  American Psychological Association (APA) Task Force that developed
                  practice guidelines for working with transgender individuals.
                  She is currently chair of the child and adolescent committee for WPATH.
                  Dr Laura Edwards-Leeper
                  Anderson and Edwards-Leeper have been criticized for speaking about
                  their concerns, whether in a 60 Minutes broadcast in May that focused on
                  detransitioners (individuals who transition to the opposite sex but then
                  change their minds and 'detransition'), to Shrier, or in other forums.
                  The two psychologists recently submitted an op-ed to The New York
                  Times but were turned down, a fact mentioned by Anderson in the Shrier
                  article and confirmed to Medscape Medical News.
                  Even that was fodder for critics. "Please don't talk to anti-trans journalists
                  because you're mad the NYT rejected your op-ed," tweeted Jack Turban,
                  MD, a few weeks after the Shrier substack article appeared.
                 Turban is a child psychiatry fellow at Stanford University School of
                 Medicine, California, who specializes in the mental health of transgender
                 youth, and he also writes op-eds for The New York Times. He did not
                 appear to tweet directly at anyone, but his target seemed clear.
                  Young Adults Are Vulnerable: Gender Not Exempt From Peer Influence
                  Edwards-Leeper tells Medscape Medical News: "We're not going to be
                  helping any youth if we're not trying to look critically at the practices that
                  are happening and try to improve upon things that maybe need to be
                  changed."
                  She worries, for instance, that 18-to-25-year-olds are often treated as
                  "small adults" — that is, they can give informed consent but are not given
                  a complete mental health evaluation. There's a portion who "are
                  developmentally much younger" than adults, Edwards-Leeper says.
                  She agrees, too, that some minors are getting "sloppy" care. Adolescents'
                  psychological development is complex and not always fully understood,
                  she stresses.




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                  "There's this idea that if a person says they're trans, they're trans, and that
                  the person knows who they are better than anyone else," says Edwards-
                  Leeper.
                  "There is truth to that from my perspective, but it is a lot more
                  complicated when we're talking about an adolescent who is trying to
                  figure out their identity and is influenced by a lot of factors."
                 Anderson also sees this as an issue. Teenagers influence each other, so it
                 should not come as a surprise that peer influence is a factor for sexual or
                 gender identity, she says.
                  "It's not the one area that's exempt from peer influence," she emphasizes,
                  although she is also conversely certain "that a persistent, true trans
                  identity is not caused by peer influence."
                  It's also a positive that more young people are expressing gender-variant
                  identities because it indicates a more open and accepting society,
                  Anderson believes.
                  But the issue is: "How do we determine which of these kids are going to
                  fit into an identity different than cis?" she explains. "Honestly I'm not sure
                  we have the data yet to be certain."
                  "Nobody who has been doing this work for a long time does presume
                  that every child who at some point says they're trans will persist as being
                  trans," Anderson insists.
                  "What Is Occurring Is an Unregulated Experiment on Children"
                  Anderson, Bowers, and Edwards-Leeper are not alone.
                  Finland issued new treatment guidelines in mid-2020 emphasizing that
                  psychotherapy should be the first line of treatment for gender dysphoria
                  for adolescents, as detailed in a Medscape Medical News feature in April.
                 And in May of this year, Sweden's Karolinska University Hospital, along
                 with other gender clinics in the country, stopped prescribing puberty
                 blockers and cross-sex hormones to individuals under age 18. And even
                 more recently, the Royal Australian and New Zealand College of
                 Psychiatrists also said that mental health evaluations by competent
                 providers are essential before any medical treatments are offered to
                 young people.
                  Some individuals — it's unclear how many — have transitioned back to
                  their natal sex and are described as "detransitioners".
                  Medscape Medical News recently reported on a survey of 100
                  detransitioners by Littman, who coined the phrase ROGD, which found




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                  that half of those who detransitioned felt they did not receive an
                  adequate evaluation from a clinician or mental health provider before
                  transitioning.
                  Dr William Malone
                  William Malone, MD, an advisor to the Society for Evidence-Based Gender
                  Medicine, who has spoken out and written critically about what he views
                  as the serious harms of puberty blockers, cross-sex hormones, and
                  gender-affirming surgery, told Medscape Medical News: "What is
                  occurring is an unregulated experiment on children, and frequently clinics
                  are not even properly collecting long-term outcomes."
                  "Even with COVID-19 and clear life-and-death outcomes, we are running
                  randomized controlled trials to figure out which treatments work,"
                  stresses Malone, an endocrinologist based in Twin Falls, Idaho.
                  Malone says Anderson and Bowers are likely both concerned about the
                  health of young people and equally worried about US state laws that are
                  issuing blanket prohibitions against hormonal and surgical interventions
                  for gender-variant youth.
                  "Medicine is part science, part art," he says.
                  "Perhaps these clinicians want to preserve the 'art,' which they may fear
                  will be taken away if the field does not start policing itself by starting to
                  acknowledge the lack of solid evidence foundations for much of what's
                  happening today in the field."
                  Introducing Genspect: Parents Are Pushing Back
                  Edwards-Leeper says more and more parents are organizing and
                  expressing concern about the speed of medical transitions. Increasingly,
                  they are complaining that they "can't find a therapist who will actually
                  engage in exploring the kid's gender and what might be going on related
                  to their dysphoria to make sure it's the right thing," she says.
                  "They're almost all liberal, progressive, left-leaning, supportive of LGBTQ
                  people, very smart, very resourceful parents," she notes.
                  One of those groups is Genspect, an international organization that
                  advocates for "neutral space" for children to explore their gender identity
                  and opposes medical transition for children.
                 It has recently launched a page where parents can leave a short, 4-minute
                 audio testimonial that details how their lives have been impacted by their
                 child suddenly declaring a transgender identity.
                 And this Saturday, November 20, Genspect is organizing the first-ever
                 webinar about ROGD, which will feature Littman, David Bell — a




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                  psychiatrist who used to work at the foremost gender clinic for children in
                  the UK, the Tavistock clinic — and one of Genspect's founders,
                  psychotherapist Stella O'Malley.
                  In an interview published in the wake of the Shrier substack article,
                  O'Malley told The Australian: "The big names associated with this vast
                  experiment seem to be re-positioning themselves from being fervent
                  advocates to now seeking caution —sadly for thousands of families this is
                  too little, too late."
                  Rafferty, the AAP guideline author, told Medscape Medical News that he
                  also hears concerns from parents that things may be moving too quickly.
                  "That is something we need to listen to," he says.
                  Is Gender-Affirmative Care Reversible?
                  But Rafferty also believes that transitioning is not a "one-time decision,"
                  where "once they start, they're on this train that's left the station and they
                  can't turn back, they can't change anything." He tells parents, "That's not
                  the gender-affirmative care model."
                  The model dictates that with every visit the care is affirming, he says. "And
                  if something doesn't feel affirming, to slow down, to explore it," Rafferty
                  emphasizes.
                  Puberty blockers may be the right approach initially, but they can always
                  be stopped if it's no longer the right tactic, he explains.
                  "At the end of the day, it's not about people being transgender, it's about
                  people being really confident and comfortable in their body and their
                  identity," he says.
                  The Endocrine Society issued a statement to Medscape Medical News in
                  which it says that its 2017 clinical practice guideline on the hormonal
                  treatment of gender-dysphoric/gender incongruent persons emphasizes
                  that a thorough mental health evaluation is essential. In the case of
                  children, a diagnosis of gender dysphoria or gender incongruence should
                  be made by a mental health professional who has training or experience
                  in child and adolescent gender development, as well as child and
                  adolescent psychopathology, it notes.
                  "It is important that mental health care is available before, during, and
                  sometimes also after transitioning," added the Endocrine Society, in its
                  statement.
                  The Society also noted that the American Medical Association, the APA,
                  the Pediatric Endocrine Society, the European Society of Endocrinology,
                  the European Society for Paediatric Endocrinology, and the AAP "are in




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                  alignment with us on the importance of gender-affirming care," which
                  includes puberty blockers.
                  "Being forced to experience puberty consistent with the sex recorded at
                  birth is extremely distressing for many transgender and gender-diverse
                  individuals," the Endocrine Society adds. That, in turn, can "result in higher
                  psychological problem scores and can raise the person's risk of
                  committing suicide or other acts of self-harm," noted the statement.
                  "Further, undergoing puberty that does not match a person's gender
                  identity can create the need for more medical procedures as an adult," it
                  adds.
                 It is, however, widely accepted that most children who take puberty
                 blockers will progress to transition with cross-sex hormones. Figures for
                 this vary by study but are — even at the lower limit — upwards of 87%,
                 and in many cases, closer to 97%-99%. Therefore, far from being
                 reversible, puberty blockers appear to be a "one-way path" to transition,
                 say Malone and other critics.
                  The WPATH Standards of Care, 8th revision, is due to be published by the
                  end of 2021. Both Anderson and Edwards-Leeper are involved in those
                  new guidelines and cannot comment on how they might change, if at all.
                  Malone says he has been following the process "with interest," but "what I
                  have seen to date is not reassuring." For instance, he says that a
                  systematic review of evidence commissioned by WPATH on cross-sex
                  hormones is "very weak" in that it concludes that hormones are "likely
                  beneficial." In addition, the review does not discuss potential harms, he
                  says.
                  Demand Outstrips Supply: Proper Evaluation Isn't "Conversion Therapy"
                  More gender-variant and transgender teens have been turning to online
                  services and Planned Parenthood clinics (in the United States) for puberty
                  blockers or cross-sex hormones.
                  In most states, Planned Parenthood, formerly a provider of just
                  contraception and abortion services, administers cross-sex hormones to
                  anyone over age 18 with informed consent, and in some states, to those
                  aged 16 or 17 with parental consent. A mental health evaluation is not
                  required.
                  Anderson says she's concerned about this lack of mental health
                  evaluation.
                  "I'm worried that they're not getting what they should get in preparation
                  for such a life-changing decision," she tells Medscape Medical News.




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                  She acknowledges, however, that demand for transgender care is
                  outstripping the supply of qualified providers. "Many of the better clinics
                  have waiting lists and it takes months to get in for an initial appointment,"
                  she says, noting that some parents and young people understandably
                  don't want to wait.
                  WPATH's Global Education Institute has trained some 5000 clinicians
                  worldwide on transgender care.
                  But most US practicing mental health professionals "had no training in
                  transgender healthcare," says Anderson. "So now they're trying to play
                  catch-up."
                  "We need more and better care for trans youth," she emphasizes.
                  That's echoed by Edwards-Leeper.
                  Providers should be "properly and comprehensively assessing the
                  individual young person and figuring out an individualized treatment plan
                  for them, which may or may not involve medical interventions, but they
                  should always be done before any medical intervention per the standards
                  of care, but especially before hormones," she tells Medscape Medical
                  News.
                 This is "not conversion therapy, you're not trying to change their gender,
                 you're just trying to help them sort out where this all came from and what
                 it is that's actually going to help them feel better," stresses Edwards-
                 Leeper.
                  Rafferty agrees on the need for a thorough individualized assessment —
                  preferably by a multidisciplinary team, as recommended in the AAP
                  guidelines. But he also says those assessments should not be delayed.
                  It's a fine line for clinicians, children, and families to tread, and they all
                  must work in concert, he says. "Kids are often focused on the here and
                  now, the distress and the dysphoria they are feeling today, which is very
                  legitimate, and I think what the research tells us is important to
                  recognize."
                  Making them "watch and wait" is not appropriate, he says. But, "on the
                  flip side, we do need to be thinking long term, we do need to be thinking
                  about side effects," and that often is the purview of the parents, he adds,
                  noting, "I welcome parents challenging me with things they are really
                  worried about."
                  Anderson continues to lobby for caution.




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                   "In my opinion, there is nothing as significant as a gender change, she
                   says, noting that it transforms the individual "biologically, psychologically,
                   and socially."
                   "If we try to make patients make good decisions about anything at all, we
                   should redouble our efforts when it comes to gender care," she
                   concludes.
                   Alicia Ault is a Lutherville, Maryland-based freelance journalist whose
                   work has appeared in publications including JAMA, Smithsonian.com, The
                   New York Times, and The Washington Post. You can find her on Twitter:
                   @aliciaault.
                   For more diabetes and endocrinology news, follow us on Twitter and
                   Facebook.

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           Re: The American Academy of Pediatrics' Dubious
           Transgender Science - The Wall Street Journal.
           From:      Eli Coleman <
           To:        marcib
           Cc:        Scott Leibowitz
                                                        , walterbouman
                      asa.radix            , vin.tangpricha

           Date:      Sun, 21 Aug 2022 09:40:18 -0400

           Getting the facts and nuance correct for the media is critically important but I don't feel we have made
           much progress on preparing a much needed Q & A.

           In addition I think we need a more detailed defense that we can use that can respond to academic
           critics and that can be used in the many court cases that will be coming up that will be trying to restrict
           access to TG care - especially around adolescence. For example we know that some of the studies
           we have cited in support of our recommendations will be torn about by organizations such as the
           Society for Evidence Based Gender Medicine. I feel that WPATH should have same level of funding
           to support position papers, powerpoint presentations as this well funded organization.

           Eli

           On Sat, Aug 20, 2022 at 9:21 PM Dr. Marci Bowers                               wrote:
            Thanks all for broadening the discussion— this is exactly what I will need to hear from all of you as
            it allows me to draw from the nuance that will allow a more articulate response to media— which
            we are wise to answer to. The questions are difficult and the answers complex but crucial— and
            need to be explained not to our proponents but to thosefor whom gender diverse realities are
            foreign. WPATH serves as a steady arbiter of truth—as we know it—while expansion of gender
            insight by our community pushes us all to be better.

             I would be very interested in how we can better safeguard our clientele— from lack of access, to
             opportunism by inexperienced and sometimes dangerous providers to exuberant immediacy which
             has apparently highlighted rare but important instances of regret.

             Kindly

             Marci Bowers MD
             WPATH President-elect
             Trevor Project Board of Directors




             Standing tall in times of darkness


                 On Aug 20, 2022, at 4:44 PM, Scott Leibowitz                                       rote:




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              Agree wholeheartedly! As do many of my very own adolescent patients who feel that going
              through an assessment- as frustrating as it may be from a time-perspective for them- actually
              prefer it since it strengthens the integrity of the decision-making process for something very
              important to them.




              On Sun, Aug 21, 2022 at 12:41 AM Eli Coleman                          wrote:
               PS I think if you don't say that there may for some vulnerable young people that social
               factors could be a factor in increased requests for care - I think that diminishes the
               credibility of the value for others - and that is why we need careful assessments of these
               adolescents.

                On Sat, Aug 20, 2022 at 5:36 PM Scott Leibowitz                                        wrote:
                 Hi all,

                  I couldn't agree with Annelou more. We cannot outright dismiss the fact that social
                  factors (also don't like the word contagion) impact identity development and decision
                  making in adolescents. It's not a one-size-fits-all explanation as to why there are more
                  kids presenting seeking treatment. Yes, it's about the healthy/natural expansion of the
                  definition of gender roles/identities as Marci mentioned. However, it's also related to
                  many things such as social factors. Some adolescents - who have certain
                  psychological vulnerabilities- feel comfortable within a marginalized community space
                  and come to feel it's a safe space for them. For others, gender serves a different
                  function, not necessarily one that is about their gender identity even though they may
                  feel it is about their identity in the moment. I would even argue that the horrific political
                  situation- and the bans on care themselves- may have a natural impact that pushes
                  more, not less young people to seek out care that they are being told they cannot
                  have. So in the end, I think we can't run away from these politically sensitive issues by
                  resorting to one-size-fits-all narratives to explain trends that we do not fully understand
                  scientifically. Rather, we should be emphasizing a cautious-discerning-and-affirming
                  approach that best understands all the factors impacting a particular young person's
                  ability to approach long-term decisions as it relates to gender treatments with lifelong
                  treatment implications.

                  I'm hoping to appeal to the audience in Montreal with this type of framing, since I
                  realize that many believe the assessment is purely a gatekeeping tactic used by
                  providers to get their patients to "prove their transness" in order to access care, which
                  is just not the case.

                  Scott




                  On Fri, Aug 19, 2022 at 6:44 PM Dr. Marci Bowers                                  wrote:
                   Well said, Annelou and for taking the time to comment.

                    Kindly

                    Marci Bowers MD
                    WPATH President-elect
                    Trevor Project Board of Directors




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                   Standing tall in times of darkness


                     On Aug 19, 2022, at 2:58 AM, Vries, A.L.C. de
                                                      wrote:



                     hi all

                     Nuance is warranted, and that's increasingly missing; there are many
                     methodological challenges in determining prevalence increases of
                     (adolescent) gender diverse identity experience (terminology changing
                     over time being one important one), so whether a true increase is at
                     stake is really difficult or impossible to answer. For sure is that
                     increasing numbers are asking for medical affirming treatment.

                     What the explanation for this increase is, is unknown and also
                     methodologically challenging to study; social factors likely play a role.. I
                     do not like the word contagion, but these factors could also be
                     recognition and increased social awareness... helping young people to
                     recognize and express their gender diversity at earlier ages. Anyone
                     who tries to make challenging issues 'simple' is not helpful, including
                     researchers and clinicians.

                     What is important in transgender adolescent care, is not just evidence,
                     but also ethics (not providing care is not a neutral option), transgender
                     and children's rights all need to be acknowledged!

                     This we have expressed earlier in our editorial regarding the Tavistock
                     case.

                     Annelou

                     Annelou L..0 de /ries, MD. PhD
                     CI    -id adoir -cent      -" atrist
                                   r+` Dhild      ,escent Psychiatry Ernn a Pediatric Hospital, G8-136
                     Center of ...,ettise os, vender Dysphona. VUmc Poli N
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                    Van: Dr. Marci Bowers <          II       I
                    Verzonden: vrijdag 19 augustus 2022 01:29
                    Aan: Eli Coleman <d
                    CC: Waulter Bouma
                                           Vries A.L.C. de
                    Scott Leibowitz

                     Onderwerp: Re: The American Academy of Pediatrics' Dubious
                     Transgender Science - The Wall Street Journal.

                     Hi all—
                     The rise in absolute numbers is real and can be explained, not as social
                     contagion but by a generational recognition that gender identity cannot be fully
                     described by only 2 choices. THIS should be the foundation for our approach to
                     skeptics.

                     There is overlap in the distribution of estrogen/testosterone and bodies that
                     arise from the same primordial soup. Why is it so difficult for the world to accept
                     a broadening of the definitions of gender? This should be our fight and nothing
                     we need to recoil from.

                     Marci Bowers, MD
                     WPATH President-elect
                     Trevor Project Board of Directors

                     Pronouns: She/her




                       On Aug 18, 2022, at 6:55 AM, Eli Coleman Mill                    ivrote:

                       <Mason et al_2022_AAP dubious transgender science_WSJ.pdf>



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                         Eli Coleman, PhD.
                          Academic Chair in Sexual Health
                          Professor and Director
                          The Institute for Sexual and Gender Health
                          University of Minnesota Medical School
                          Family Medicine and Community Health
                          sexualhealth.umn.edu




                  Eli Coleman, PhD.
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                  University of Minnesota Medical School
                  Family Medicine and Community Health
                  sexualheaith.umn.edu




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